Case O:OS-cv-GlQS?-DLG Document 17 Entered on FLSD Docket 05/21/2009 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
FT. LAUDERDALE DIVISION

CaSe NO. 08-61937-CIV-GRAHAM/TORRES
SARAH M. POLLOCK,

Plaintiffs,
vs.

FINANCIAL CREDIT NETWORK, INC.

Defendant.
/

MB

THIS CAUSE came before the Court upon the parties’ Joint
Stipulation for Dismissal with Prejudice [D.E. 16], which was filed
on April 25, 2009. Based thereon, it is hereby

ORDERED AND ADJUDGED that this action is DISMISSED with prejudice,
with each party to bear its own attorney's fees and costs, except as
otherwise agreed by the parties. It is further

ORDERED AND ADJUDGED that the Court retains jurisdiction for
sixty (60) days to enforce the terms of the Settlement Agreement.

DONE AND ORDERED in Chambers at Miami, Florida, this Hay of

May, 2009. L@GQ /§;

DONALD L. GRAHAM
UNITED STATES DISTRICT JUDGE

cc: U.S. Magistrate Judge Torres
All Counsel of Record

